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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

TREVA THOMPSON, et al.,                    )
                                           )
      Plaintiffs,                          )
                                           )
v.                                         )   CIVIL CASE NO. 2:16-cv-783-ECM
                                           )
JOHN H. MERRILL, et al.,                   )
                                           )
      Defendants.                          )


                                        ORDER

      Upon consideration of the Defendants’ Rule 26 Objection (doc. 245), filed on

July 24, 2020, it is ORDERED that the Plaintiffs shall file a response to the objection

on or before August 3, 2020.

      DONE this 27th day of July, 2020.



                                    /s/ Emily C. Marks
                                    EMILY C. MARKS
                                    CHIEF UNITED STATES DISTRICT JUDGE
